Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 1 of 36 PageID #:
                                  2785

                                  CRAIG BERNIER

    · · · · · · ·· UNITED STATES DISTRICT COURT
    · · · · · · FOR THE EASTERN DISTRICT OF TEXAS
    · · · · · · · · · ·· SHERMAN DIVISION
    ·
    · JUAN LOZADA-LEONI,· · · ··)
    · · · · · · · · · · · · · ·)
    · · ·· Plaintiff,· · · · · ·)
    · · · · · · · · · · · · · ·)
    · VS.· · · · · · · · · · · ·) Case No.
    · · · · · · · · · · · · · · ) 4:20-cv-00068-RWS-CMC
    · · · · · · · · · · · · · ·)
    · MONEYGRAM INTERNATIONAL,··)
    · INC. and MONEYGRAM PAYMENT)
    · SYSTEMS, INC.,· · · · · ··)
    · · · · · · · · · · · · · ·)
    · · ·· Defendants.· · · · ··)
    ·
    ·· **************************************************
    · · · · · · · · · · · ·· VOLUME 1
    · · · · · · · · · · ORAL DEPOSITION OF
    · · · · · · · · · · · CRAIG BERNIER
    · · · · · · · · · · · JUNE 26, 2020
    · · · · · · ·· (REPORTED REMOTELY VIA ZOOM)
    ·· **************************************************
    ·
    ·
    ·
    ·
    · · ·· ORAL DEPOSITION OF CRAIG BERNIER, produced as a
    ·
    · witness at the instance of the Plaintiff, and duly
    ·
    · sworn, was taken in the above-styled and numbered
    ·
    · cause on the 26th day of June, 2020, at 9:33 a.m. to
    ·
    · 4:37 p.m., before Laurie Purdy, CSR, in and for the
    ·
    · State of Texas, reported remotely by machine
    ·
    · shorthand, with the witness located in The Colony,
    ·
    · State of Texas, pursuant to the Federal Rules of
    ·
    · Civil Procedure, the Twelfth Emergency Order
    ·
    · Regarding the COVID-19 State of Disaster, and the
    ·
    · provisions stated on the record or attached hereto.

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                                                                      Appx. 1
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 2 of 36 PageID #:
                                  2786                                  Page 5
                                 CRAIG BERNIER

·1· · · · · · · · · · · ·CRAIG BERNIER,
·2· ·having been first duly sworn, testified as follows:
·3· · · · · · · · · · · ··EXAMINATION
·4· ·BY MS. HUTCHISON:
·5· · · ··Q.· ·Mr. Bernier, would you state your full
·6· ·name, please?
·7· · · ··A.· ·Sure.··It's Craig Jacob Bernier.
·8· · · ··Q.· ·And you are currently employed by
·9· ·MoneyGram?
10· · · ··A.· ·MPSI, yes.··MoneyGram Payments, (sic) Inc.,
11· ·MPSI.
12· · · ··Q.· ·Okay.
13· · · ··A.· ·Yes.
14· · · ··Q.· ·And what position do you hold?
15· · · ··A.· ·I'm the head of AML CFT --
16· · · ··Q.· ·So --
17· · · ··A.· ·-- head of compliance.
18· · · ··Q.· ·-- MoneyGram is the corporation of
19· ·acronyms, I have learned.··So I'm trying to learn all
20· ·of it.··AML I know is anti-money laundering, right?
21· · · ··A.· ·Yes.··Counter financing of terrorism.
22· · · ··Q.· ·Counter financing of terrorism?
23· · · ··A.· ·Yes.
24· · · ··Q.· ·So counter financing of terrorism is a
25· ·department of its own within MoneyGram?

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                                                                     Appx. 2
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 3 of 36 PageID #:
                                  2787                                  Page 6
                                 CRAIG BERNIER

·1· · · ··A.· ·It's part of our -- our compliance
·2· ·strategy, our bigger compliance department, yes.
·3· ·It's -- it has multiple layers.··Counter financing of
·4· ·terrorism is -- really touches multiple pieces of the
·5· ·company, so various different controls are utilized
·6· ·to counter the financing of terrorism, so on a global
·7· ·scale I kind of head up the efforts for that.
·8· · · ··Q.· ·Okay.··And so you have oversight of a team
·9· ·of compliance people who investigate fraud, money
10· ·laundering, and terrorist activities?
11· · · ··A.· ·Yes, that's correct.··Suspicious activities
12· ·of consumers.
13· · · ··Q.· ·And you have a background in intelligence,
14· ·don't you?
15· · · ··A.· ·Yes.··I was former military intelligence.
16· · · ··Q.· ·So you worked for the government?
17· · · ··A.· ·I did.
18· · · ··Q.· ·How long did you work for the government?
19· · · ··A.· ·I was in the US Army from June of 2008 in
20· ·active duty, in active reserve status until June of
21· ·2015.··And then from June of 2015 until June of 2017,
22· ·I was in inactive status.
23· · · ··Q.· ·How long have you been the head of
24· ·anti-money laundering, counter financing of
25· ·terrorism?

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                                                                     Appx. 3
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 4 of 36 PageID #:
                                  2788                                  Page 7
                                 CRAIG BERNIER

·1· · · ··A.· ·This -- that particular title since July of
·2· ·2019.
·3· · · ··Q.· ·So what did you do before July of 2019?
·4· · · ··A.· ·For MoneyGram?
·5· · · ··Q.· ·Yes, sir.
·6· · · ··A.· ·So prior to being head of AML CFT, I was
·7· ·the head of the Financial Intelligence Unit for
·8· ·MoneyGram, which is the vast majority still of my
·9· ·current work.··So and that's -- and that was that.
10· ·And then prior to head of FIU, I was manager within
11· ·the Financial Intelligence Unit, and prior to that I
12· ·was an analyst within the Financial Intelligence
13· ·Unit.··Excuse me, correction.··I was a supervisor,
14· ·and then prior to that I was an analyst.
15· · · ··Q.· ·So how long have you worked for MoneyGram
16· ·altogether?
17· · · ··A.· ·I started working for MoneyGram in
18· ·December -- sorry -- November of 2013.
19· · · ··Q.· ·So is the AML CFT department, does that
20· ·encompass FIU?
21· · · ··A.· ·Yes, it does.
22· · · ··Q.· ·And you are, I guess, ACAMS certified?
23· · · ··A.· ·Yes, I am.
24· · · ··Q.· ·And that's the -- another acronym, the
25· ·Association of Certified Anti-Money Laundering

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                                                                     Appx. 4
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 5 of 36 PageID #:
                                  2789                                  Page 9
                                 CRAIG BERNIER

·1· ·into the financial industry"?
·2· · · ··A.· ·Visibility into other avenues of compliance
·3· ·within the financial industry.··So, for example, when
·4· ·you work at an MSB, which handles person-to-person
·5· ·wire transfer which is different from maybe some of
·6· ·the compliance scenarios that would occur at a bank
·7· ·with a (audio cuts out), so this gives some exposure
·8· ·to how other companies may address issues or forms
·9· ·where they're giving trainings or briefings, et
10· ·cetera.
11· · · ··Q.· ·And MSB being a money services business?
12· · · ··A.· ·Yes.
13· · · ··Q.· ·And both the MSBs, the money services
14· ·business, is like MoneyGram -- MoneyGram is an MSB,
15· ·right?
16· · · ··A.· ·Correct.··MoneyGram is in money services.
17· · · ··Q.· ·And so both MSBs and banking institutions
18· ·and other institutions like that are regulated by the
19· ·federal government, right?
20· · · ··A.· ·Yes.
21· · · ··Q.· ·And that's part of what you learn about
22· ·when you get ACAMS certified, is what regulations
23· ·govern those industries, right?
24· · · ··A.· ·Correct.
25· · · ··Q.· ·You learn about the Banking Services Act --

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                                                                     Appx. 5
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 6 of 36 PageID #:
                                  2790                                 Page 10
                                 CRAIG BERNIER

·1· ·or Secrecy Act?··I want to call it "Services Act,"
·2· ·but it's another -- it's the BSA, which is the
·3· ·Banking Secrecy Act, right?
·4· · · ··A.· ·Correct.
·5· · · ··Q.· ·And the BSA, the Business Secrecy Act,
·6· ·governs both banks and money service businesses,
·7· ·right?
·8· · · · · · · · ··MR. EISENSTAT:··Objection, form.
·9· · · ··A.· ·So it governs financial --
10· · · · · · · · ··THE WITNESS:··Oh, I'm sorry.··Go
11· ·ahead.
12· · · · · · · · ··MR. EISENSTAT:··That's all right.··I
13· ·just made an objection.··You can answer.
14· · · ··A.· ·Correct.··So the BSA will govern financial
15· ·institutions that fall under the definition of how
16· ·the BSA defines it, so I wouldn't be able to speak to
17· ·specifically which exact institutions that applies
18· ·to.··It depends on how they're classified.
19· · · ··Q.· ·(By Ms. Hutchison)··I guess my point,
20· ·really, is that it covers MoneyGram.
21· · · ··A.· ·Correct, yeah, as defined as a financial
22· ·institution.
23· · · ··Q.· ·Right.··So the Banking Secrecy Act -- so
24· ·MoneyGram is required, to your understanding and what
25· ·you've learned to become ACAMS certified, to comply

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                                                                     Appx. 6
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 7 of 36 PageID #:
                                  2791                                 Page 13
                                 CRAIG BERNIER

·1· ·FinCEN.
·2· · · ··Q.· ·Right.··And you are -- you're also required
·3· ·to comply with the Deferred Prosecution Agreement and
·4· ·the Federal Trade Commission's injunction, aren't
·5· ·you?
·6· · · ··A.· ·Yes, that is correct.
·7· · · ··Q.· ·And so in order to do that, you have to
·8· ·have an understanding of what's in them, don't you?
·9· · · ··A.· ·I do need to have an understanding of what
10· ·is in there, and then I can also rely on our internal
11· ·legal counsel for interpretations when things may not
12· ·be clear in those -- in those particular
13· ·requirements.
14· · · ··Q.· ·Sure.··And if you have a question, you can
15· ·certainly go to legal.··But separate and apart from
16· ·that, you are required to have an understanding of
17· ·the concepts and the issues and the problems and the
18· ·solutions that are contained within those documents,
19· ·right?
20· · · · · · · · ··MR. EISENSTAT:··Objection, form.
21· · · ··A.· ·Yes.··It is very important -- it is
22· ·important for me to have an understanding of the
23· ·requirements to perform my job functions, yes.
24· · · ··Q.· ·(By Ms. Hutchison)··And you have to even
25· ·sign something saying that you had received a copy

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                                                                     Appx. 7
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 8 of 36 PageID #:
                                  2792                                 Page 14
                                 CRAIG BERNIER

·1· ·and read the federal injunction, didn't you?
·2· · · ··A.· ·I do recall having to sign an
·3· ·acknowledgment that I have received those -- that,
·4· ·yes.
·5· · · ··Q.· ·And what was your understanding of why you
·6· ·had to do that?
·7· · · ··A.· ·I do not understand why I had to sign
·8· ·that.··I believe it was a requirement within the --
·9· ·within the order itself, if I recall.
10· · · ··Q.· ·You don't know why?
11· · · ··A.· ·Well, I just said I believe it was a
12· ·requirement within the order itself, but I --
13· · · ··Q.· ·Right.··But you don't know why that
14· ·requirement was in the order?
15· · · · · · · · ··MR. EISENSTAT:··Objection, form.
16· · · ··A.· ·I'm not sure why they put that requirement
17· ·in the order, ma'am, no.
18· · · ··Q.· ·(By Ms. Hutchison)··Did you ask anybody?
19· · · ··A.· ·I don't recall asking anybody why that
20· ·requirement was in the order.
21· · · ··Q.· ·Did you know that the requirement in the
22· ·injunction order stated that it was -- that it had to
23· ·be given to every single employee and agent of
24· ·MoneyGram?
25· · · · · · · · ··MR. EISENSTAT:··Objection, form.

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                                                                     Appx. 8
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 9 of 36 PageID #:
                                  2793                                 Page 18
                                 CRAIG BERNIER

·1· · · · · · · · ··MR. EISENSTAT:··Objection, form.
·2· · · ··A.· ·So, again, I don't know why someone else
·3· ·decided to put that in there.··I can say that from my
·4· ·personal view, it would be in there to -- so that
·5· ·employees are aware that it exists and the
·6· ·requirements that are held within it.
·7· · · ··Q.· ·(By Ms. Hutchison)··How many employees do
·8· ·you supervise?
·9· · · ··A.· ·I supervise -- directly I have four people
10· ·reporting directly to me, and then the entire
11· ·organization underneath it is currently 200 and about
12· ·50.
13· · · ··Q.· ·So you --
14· · · ··A.· ·During the -- go ahead.
15· · · ··Q.· ·No, I didn't want to cut you off.··I
16· ·thought you were done.
17· · · ··A.· ·That's in -- that's in my current role.
18· · · ··Q.· ·Okay.··So you supervise directly and
19· ·indirectly 250 employees, and you don't know why
20· ·they're supposed to get copies of this order?
21· · · · · · · · ··MR. EISENSTAT:··Objection, form.
22· · · ··A.· ·I think I -- I think I answered that I
23· ·understand from my personal belief that they need to
24· ·have a good understanding of what the requirements in
25· ·the order is and understand what the order -- that

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                                                                     Appx. 9
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 10 of 36 PageID #:
                                   2794                                Page 31
                                  CRAIG BERNIER

 ·1· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 ·2· · · ··A.· ·I think that's an opinion.··I think every
 ·3· ·financial institution could be susceptible to
 ·4· ·criminal activity.
 ·5· · · ··Q.· ·(By Ms. Hutchison)··Okay.··So you don't
 ·6· ·have the opinion that -- that money services
 ·7· ·businesses are particularly susceptible to money
 ·8· ·laundering and terrorist financing?
 ·9· · · ··A.· ·I have the opinion that all financial
 10· ·institutions need to have the appropriate controls to
 11· ·find and mitigate and report suspicious activity
 12· ·within their company.··I don't think that I can
 13· ·personally say that one particular portion of the
 14· ·financial industry is more susceptible than the
 15· ·other.
 16· · · ··Q.· ·Well, you will agree that, obviously, you
 17· ·can't catch the criminals, the terrorists, and the
 18· ·drug dealers if you don't watch out for them or
 19· ·monitor for them, right?
 20· · · ··A.· ·No, I would not agree with that.··I think
 21· ·law enforcement can capture criminals.··They don't
 22· ·always need information from financial institutions.
 23· ·If you're speaking in general, criminals are caught
 24· ·every day without --
 25· · · ··Q.· ·I'm not speaking in general.··I'm speaking

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                                                                     Appx. 10
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 11 of 36 PageID #:
                                   2795                                Page 32
                                  CRAIG BERNIER

 ·1· ·about MoneyGram.··Isn't your job to try to prevent
 ·2· ·criminal activity?
 ·3· · · ··A.· ·My job is to monitor and identify
 ·4· ·potentially suspicious activity within our systems
 ·5· ·and then report it through -- through a SARs filing
 ·6· ·to the regulatory authorities, but it's not
 ·7· ·necessarily to define criminal activity within our
 ·8· ·system.
 ·9· · · ··Q.· ·Potentially suspicious for criminal
 10· ·activity, right?··I mean, you're not going to --
 11· ·you're not going to do a report on being suspicious
 12· ·of somebody for something that's not a crime, are
 13· ·you?
 14· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 15· · · ··A.· ·So MoneyGram and me or anybody, we're not
 16· ·judges and juries, so I cannot -- the requirements
 17· ·are to find -- the requirements are to find
 18· ·suspicious activity.··So I can't tell you what crime
 19· ·may be specifically occurring when you see suspicious
 20· ·patterns in money transfers.
 21· · · ··Q.· ·(By Ms. Hutchison)··Isn't the whole point
 22· ·of looking for suspicious patterns --
 23· · · · · · · · ··MR. EISENSTAT:··I think you
 24· ·interrupted -- I think you interrupted him, Counsel.
 25· · · · · · · · ··MS. HUTCHISON:··If he's going to

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                                                                     Appx. 11
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 12 of 36 PageID #:
                                   2796                                Page 39
                                  CRAIG BERNIER

 ·1· ·financing of -- counter financing of terrorism;
 ·2· ·however, I can't label that activity as that because
 ·3· ·we identify suspicious activity and report it.
 ·4· ·That's our -- that's our mandate.
 ·5· · · ··Q.· ·I'm not asking you to label it.
 ·6· · · ··A.· ·And identifying that suspicious activity is
 ·7· ·intended to assist law enforcement and report so
 ·8· ·that -- so that, yes, criminal activity can be
 ·9· ·prevented.
 10· · · ··Q.· ·Right.··Thank you.··And you have to stay on
 11· ·guard and be vigilant, don't you, in your monitoring
 12· ·to prevent money laundering and financing of
 13· ·terrorist activities?
 14· · · ··A.· ·What do you mean by "staying on guard and
 15· ·vigilant"?··I mean, we have to have the appropriate
 16· ·program implemented.··We have to -- we have to make
 17· ·sure that we're reviewing our programs and policies
 18· ·and making sure that we're implementing the right
 19· ·controls.
 20· · · ··Q.· ·And using those four pillars of compliance,
 21· ·right?
 22· · · ··A.· ·Correct.
 23· · · ··Q.· ·I mean, the safety of the public, of
 24· ·MoneyGram's consumers, is one of your primary
 25· ·responsibilities, isn't it?··Isn't that the point of

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                                                                     Appx. 12
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 13 of 36 PageID #:
                                   2797                                Page 47
                                  CRAIG BERNIER

 ·1· ·there was a Deferred Prosecution Agreement that was
 ·2· ·entered.··And you're familiar with that, right?
 ·3· · · ··A.· ·I'm aware that it exists, yes.
 ·4· · · ··Q.· ·Okay.··And it's, again, the federal
 ·5· ·government against MoneyGram International,
 ·6· ·Incorporated, right?
 ·7· · · ··A.· ·That's what it says, yes.
 ·8· · · ··Q.· ·Okay.··Well, you have an understanding that
 ·9· ·that's -- that that happened and it was the
 10· ·government against MoneyGram, right?
 11· · · ··A.· ·Yes.
 12· · · ··Q.· ·And attached to this Deferred Prosecution
 13· ·Agreement is what's called a Statement of Facts.
 14· ·Have you ever read the Statement of Facts that was
 15· ·attached to the agreement?
 16· · · ··A.· ·I have read the Statement of Facts, yes.
 17· · · ··Q.· ·Okay.··And that's Attachment A.··And so the
 18· ·Statement of Facts includes a finding that there was
 19· ·laundering of fraud proceeds using MoneyGram's money
 20· ·transfer system, correct?
 21· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 22· · · ··A.· ·Where does it say that?··You're referring
 23· ·to this page, right?
 24· · · ··Q.· ·(By Ms. Hutchison)··Wait a minute.··That's
 25· ·not what I want.

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                                                                     Appx. 13
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 14 of 36 PageID #:
                                   2798                                Page 48
                                  CRAIG BERNIER

 ·1· · · ··A.· ·Could you repeat the question again?··Am I
 ·2· ·aware -- I know you asked if I'm aware.
 ·3· · · ··Q.· ·Well, you know what?··Let me back up a
 ·4· ·minute.··So first of all, there was a finding that
 ·5· ·from 2004 to 2009 the reported fraud from MoneyGram
 ·6· ·agents was over $75 million in losses to the victims,
 ·7· ·right?
 ·8· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 ·9· · · ··A.· ·Yes, that's what that says.··That's what
 10· ·the statement says right here that you have in front
 11· ·of me, yes.
 12· · · ··Q.· ·(By Ms. Hutchison)··Okay.··And do you have
 13· ·an understanding what the government meant by "losses
 14· ·to victims"?
 15· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 16· · · ··A.· ·Again, this particular document was before
 17· ·my time, and so, you know, I can't speculate what
 18· ·they actually want it to mean.··I can see what the
 19· ·document says in the order.··I can see specifically
 20· ·in this statement what it says, but I don't -- I
 21· ·mean, how do you want me to interpret that?··I
 22· ·don't --
 23· · · ··Q.· ·(By Ms. Hutchison)··I want you to -- let me
 24· ·ask you this:··As a MoneyGram manager -- you're a
 25· ·senior manager, aren't you?

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                                                                     Appx. 14
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 15 of 36 PageID #:
                                   2799                                Page 49
                                  CRAIG BERNIER

 ·1· · · ··A.· ·Yes.··Yes.
 ·2· · · ··Q.· ·As a senior MoneyGram manager, do you have
 ·3· ·any responsibility for complying with this agreement?
 ·4· · · ··A.· ·Yes, I do.
 ·5· · · ··Q.· ·Okay.··And in order to comply with the
 ·6· ·agreement, you have to understand it, don't you?
 ·7· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 ·8· · · ··A.· ·I would say I have to understand it to do
 ·9· ·the sections that apply to my job functions, yes.
 10· · · ··Q.· ·(By Ms. Hutchison)··Okay.··So you only have
 11· ·to understand certain parts of it, not all of it?
 12· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 13· · · ··A.· ·Yeah, I don't know how to answer that,
 14· ·because I mentioned earlier, obviously, I'm not an
 15· ·attorney.··This is a legal document, so you're asking
 16· ·if I need to understand this document, and I think
 17· ·there are levels of understanding.··So when you're
 18· ·asking that question -- I've never been in a
 19· ·deposition before, so I don't know how this is
 20· ·supposed to go.··So just to be completely
 21· ·transparent, if you're asking me do I understand the
 22· ·document, I can answer that I have a general
 23· ·understanding of it.··I don't know that I can say I
 24· ·have a legal understanding of it because I'm not a
 25· ·lawyer.··So I want -- when I'm answering your

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                                                                     Appx. 15
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 16 of 36 PageID #:
                                   2800                                Page 51
                                  CRAIG BERNIER

 ·1· ·can be improved and continue those -- those
 ·2· ·enhancements and improvements over time.··I don't
 ·3· ·think that -- compliance never stops.··So I don't
 ·4· ·think improving upon our controls and our systems
 ·5· ·ever -- ever slows down or stops.
 ·6· · · ··Q.· ·I'm asking you specifically about
 ·7· ·MoneyGram's agreement with the federal government.
 ·8· ·You understand that you are bound by this agreement?
 ·9· ·You, in your role as the head of anti-money
 10· ·laundering and counter financing of terrorism, are
 11· ·bound by this agreement?
 12· · · ··A.· ·I understand the company is bound by it.··I
 13· ·work for the company.··I've signed that I
 14· ·acknowledged it, and, yes, my job is to make some of
 15· ·the issues that were identified in the Deferred
 16· ·Prosecution Agreement better and not have the same
 17· ·challenges that the company was fined for in the
 18· ·past.
 19· · · ··Q.· ·Okay.··So with that in mind -- I mean,
 20· ·obviously, that means you've read the Deferred
 21· ·Prosecution Agreement, right?
 22· · · ··A.· ·I have read the Deferred Prosecution
 23· ·Agreement, yes.
 24· · · ··Q.· ·Was there anything that you recall not
 25· ·understanding, saying, I don't get this; I don't know

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                                                                     Appx. 16
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 17 of 36 PageID #:
                                   2801                                Page 57
                                  CRAIG BERNIER

 ·1· · · · · · · · ··MR. EISENSTAT:··Yeah, there you go.
 ·2· · · ··A.· ·That helps.
 ·3· · · ··Q.· ·(By Ms. Hutchison)··Okay.
 ·4· · · ··A.· ·So that -- I'm aware that, yes, this says
 ·5· ·that we need to have policies and procedures that
 ·6· ·govern how we terminate agents.
 ·7· · · ··Q.· ·Okay.
 ·8· · · ··A.· ·Yes.
 ·9· · · ··Q.· ·And it goes through -- I'm not going to go
 10· ·through the whole laundry list that the government
 11· ·has on here, but just generally speaking, you know,
 12· ·it includes problems with SARs, right, Suspicious
 13· ·Activity Reports?
 14· · · ··A.· ·I see Line B discusses SARs, yes.
 15· · · ··Q.· ·And C discusses SARs?
 16· · · ··A.· ·Yes, I see C mentions SARs as well.
 17· · · ··Q.· ·Okay.··And another problem that it lists
 18· ·under D -- and I'll blow that up -- it says,
 19· ·"MoneyGram failed to sufficiently resource and staff
 20· ·its AML program," right?
 21· · · ··A.· ·That's what it says, yes.
 22· · · ··Q.· ·Okay.··And AML is anti-money laundering,
 23· ·right?
 24· · · ··A.· ·Correct.
 25· · · ··Q.· ·And you're over anti-money laundering,

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                                                                     Appx. 17
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 18 of 36 PageID #:
                                   2802                                Page 58
                                  CRAIG BERNIER

 ·1· ·right?
 ·2· · · ··A.· ·As of July of 2019, yes.
 ·3· · · ··Q.· ·Okay.··Who was over anti-money laundering
 ·4· ·before you?
 ·5· · · ··A.· ·Directly before me there was an individual,
 ·6· ·his name was Rob Stapleton.
 ·7· · · ··Q.· ·If you look at -- there's a part in here
 ·8· ·about due diligence in signing up agents.··It's G.
 ·9· ·Here it is.··So it says that "MoneyGram failed to
 10· ·conduct adequate due diligence on prospective
 11· ·MoneyGram agents and signed up agents without
 12· ·visiting the locations," et cetera, right?
 13· · · ··A.· ·That's what it says, yes.
 14· · · ··Q.· ·Okay.··And so is there a due diligence
 15· ·requirement that you're aware of with respect to
 16· ·verifying who the agents are and whether they're, I
 17· ·guess, legitimate?
 18· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 19· · · ··A.· ·MoneyGram has a due diligence process for
 20· ·onboarding agents, yes.
 21· · · ··Q.· ·(By Ms. Hutchison)··Okay.··And is that
 22· ·important for -- also for the counter financing of
 23· ·terrorism aspect of your job, to make sure that the
 24· ·agents that are being signed up are not run by any
 25· ·terrorists organizations?

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                                                                     Appx. 18
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 19 of 36 PageID #:
                                   2803                                Page 62
                                  CRAIG BERNIER

 ·1· ·influencing compliance?
 ·2· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 ·3· · · ··A.· ·Well, I -- so, again, first deposition.··I
 ·4· ·don't know what you mean by "improper."··What I do
 ·5· ·know is that what you have in front of me, what the
 ·6· ·company was -- what this statement says about sales
 ·7· ·influencing compliance.··But in my world, I have not
 ·8· ·personally experienced someone trying to
 ·9· ·inappropriately influence or affect anything from a
 10· ·sales side in my world.
 11· · · ··Q.· ·(By Ms. Hutchison)··And you're not aware of
 12· ·that occurring at MoneyGram?
 13· · · ··A.· ·I'm aware of this in -- I'm aware of this
 14· ·in the DPA.··And I would say in a general sense
 15· ·that -- I'm not aware of a compliance action not
 16· ·being taken because of sales.··I can't recall any
 17· ·compliance action being missed or not taken because
 18· ·of something that sales did or said.
 19· · · ··Q.· ·As a senior manager of MoneyGram, did you
 20· ·get copies of the Monitor Reports?
 21· · · ··A.· ·I've received copies of the Monitor Reports
 22· ·for the last couple of years.··I may not have always
 23· ·had visibility into all of the Monitor Reports based
 24· ·on the level that I had at the company at the time --
 25· ·depending on what time frame you're talking about.

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                                                                     Appx. 19
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 20 of 36 PageID #:
                                   2804                                Page 63
                                  CRAIG BERNIER

 ·1· · · ··Q.· ·What about in 2016?··Would you have gotten
 ·2· ·a copy of the Monitor report in 2016?
 ·3· · · ··A.· ·I do not recall getting a full copy of the
 ·4· ·Monitor report in 2016; although, I do believe that I
 ·5· ·got sections that were pertaining to my area.
 ·6· · · ··Q.· ·And what was your role in 2016?
 ·7· · · ··A.· ·In the -- from January until July -- mid
 ·8· ·July of 2016, I was a manager in the Financial
 ·9· ·Intelligence Unit.··And then in July of 2016 after
 10· ·the director at the time left, I was named director
 11· ·of the FIU, which is now called the head of the FIU.
 12· · · · · · · · ··THE REPORTER:··I'm sorry.··Can you say
 13· ·that one more time?··Head of what?
 14· · · · · · · · ··THE WITNESS:··Head of the Financial
 15· ·Intelligence Unit.
 16· · · ··Q.· ·(By Ms. Hutchison)··And you were referred
 17· ·to --
 18· · · ··A.· ·The position was -- the position was called
 19· ·director at the time, director of --
 20· · · ··Q.· ·And you were --
 21· · · ··A.· ·-- financial.··I'm sorry.
 22· · · ··Q.· ·I was just trying to clarify for the court
 23· ·reporter that you referred to it as the FIU.
 24· · · ··A.· ·Yes.
 25· · · ··Q.· ·I just don't think she heard the "FIU."

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                                                                     Appx. 20
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 21 of 36 PageID #:
                                   2805                               Page 169
                                  CRAIG BERNIER

 ·1· · · ··Q.· ·(By Ms. Hutchison)··Mr. Bernier, my
 ·2· ·question is specific.··I'm not asking you if you've
 ·3· ·read Paragraph 2.··I'm asking you -- the question is,
 ·4· ·do you have an understanding based upon your reading
 ·5· ·of this document and the fact that you were required
 ·6· ·to read, understand, and acknowledge it, that
 ·7· ·MoneyGram has admitted that it has engaged in fraud?
 ·8· ·And that's a yes or no question.
 ·9· · · · · · · · ··MR. EISENSTAT:··You can answer this
 10· ·question for the last time.
 11· · · ··Q.· ·(By Ms. Hutchison)··It's yes or no.
 12· · · ··A.· ·The document speaks for itself, and I have
 13· ·already admitted that I have read and understood the
 14· ·document.
 15· · · ··Q.· ·And you read and understood all the facts
 16· ·that were attached that describe in great detail all
 17· ·of the fraud that occurred, right?
 18· · · ··A.· ·I would not state that I understand every
 19· ·detail of the legal verbiage used in the -- in the
 20· ·specific -- in the DPA.··But as I mentioned earlier,
 21· ·that I do have access to our internal legal counsel,
 22· ·so if I had a question or if something was unclear I
 23· ·could ask them.
 24· · · ··Q.· ·And I'm not asking you about the legal
 25· ·verbiage.··I'm asking you did you read the statement

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                                                                     Appx. 21
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 22 of 36 PageID #:
                                   2806                               Page 170
                                  CRAIG BERNIER

 ·1· ·of facts that talk about the factual basis for the
 ·2· ·fraud findings?
 ·3· · · ··A.· ·Which specific facts are you referring to
 ·4· ·and I can let you know if I'm aware of them?··If
 ·5· ·you'd like to walk through every fact in the entire
 ·6· ·document, I'm happy to say what I recall and what I
 ·7· ·don't.··If that's what you would like to do, I will
 ·8· ·do that.
 ·9· · · ··Q.· ·I want to know if you read the factual
 10· ·statement that describes all the fraudulent
 11· ·activities.
 12· · · ··A.· ·I believe that I did say that I have read
 13· ·the Deferred Prosecution Agreement, yes.
 14· · · ··Q.· ·Okay.
 15· · · ··A.· ·If you're asking if I recall every
 16· ·statement in the entirety of the document, I do not.
 17· · · ··Q.· ·What's your understanding of why MoneyGram
 18· ·required you to read the federal injunction and the
 19· ·prosecution agreement from the Department of Justice?
 20· · · ··A.· ·As I recall, the company was required to
 21· ·have everyone read and acknowledge the Deferred
 22· ·Prosecution Agreement.
 23· · · ··Q.· ·And what's your understanding of why the
 24· ·government wanted MoneyGram to have its senior
 25· ·management and its employees and its agents read

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                                                                     Appx. 22
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 23 of 36 PageID #:
                                   2807                               Page 172
                                  CRAIG BERNIER

 ·1· · · · · · · · ··MS. HUTCHISON:··-- whole suit is
 ·2· ·about.
 ·3· · · · · · · · ··MR. EISENSTAT:··Susan, I've made my
 ·4· ·position known to you, so I suggest --
 ·5· · · · · · · · ··MS. HUTCHISON:··It's very wrong.
 ·6· · · · · · · · ··MR. EISENSTAT:··-- that you ask
 ·7· ·another question.
 ·8· · · · · · · · ··MS. HUTCHISON:··I'll show you why it's
 ·9· ·relevant.
 10· · · · · · · · ··MR. EISENSTAT:··Great.··That would be
 11· ·nice to see.
 12· · · · · · · · ··MS. HUTCHISON:··I will absolutely do
 13· ·that.··But I just want to make sure the record is
 14· ·clear that Mr. Bernier is testifying that as a senior
 15· ·management he has no clue as to why he was supposed
 16· ·to read that document.
 17· · · ··Q.· ·(By Ms. Hutchison)··Is that accurate?
 18· · · ··A.· ·I am not testifying to that, no.··That is
 19· ·not accurate.
 20· · · ··Q.· ·So what's the clue -- what's your -- what's
 21· ·your understanding, your opinion or belief as a
 22· ·senior manager as to why you should read those
 23· ·documents?
 24· · · ··A.· ·Now, that's a better question because I can
 25· ·give you my opinion.··My opinion on why we should be

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                                                                     Appx. 23
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 24 of 36 PageID #:
                                   2808                               Page 173
                                  CRAIG BERNIER

 ·1· ·reading those documents is because it's important to
 ·2· ·understand the history of what the company has been
 ·3· ·through so that we can understand where the company
 ·4· ·has made mistakes in the past so that we can create a
 ·5· ·better environment now and in the future to combat
 ·6· ·fraud and anti-money laundering initiatives.··So I
 ·7· ·think it's important to know history of the company
 ·8· ·so that we know where we need to aim to be in the
 ·9· ·future.
 10· · · ··Q.· ·And the Deferred Prosecution Agreement is
 11· ·still in effect, right?
 12· · · ··A.· ·There's an extension to the Deferred
 13· ·Prosecution Agreement, yes.
 14· · · ··Q.· ·It's still in effect?
 15· · · ··A.· ·Yes.
 16· · · ··Q.· ·Okay.··And so it applies to MoneyGram today
 17· ·as we sit here, right?
 18· · · ··A.· ·Yes.
 19· · · ··Q.· ·Okay.··And as a matter of fact, if you look
 20· ·at the extension that's still in effect today --
 21· ·we'll look at Page 11.··It says, "As a result of
 22· ·MoneyGram's conduct including why" --
 23· · · · · · · · ··MR. EISENSTAT:··Susan --
 24· · · · · · · · ··MS. HUTCHISON:··It's not on there?
 25· · · · · · · · ··MR. EISENSTAT:··No, not yet.

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                                                                     Appx. 24
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 25 of 36 PageID #:
                                   2809                               Page 175
                                  CRAIG BERNIER

 ·1· · · ··Q.· ·It says that in 2018 -- November 2018,
 ·2· ·right?
 ·3· · · ··A.· ·Page 15 says November 2018 signed by the
 ·4· ·CEO, yes.
 ·5· · · ··Q.· ·Right.··"In 2018 the company had to forfeit
 ·6· ·$125 million," right?
 ·7· · · ··A.· ·I believe that's when the -- I see the
 ·8· ·sentence, so, yes, I see what the document says.
 ·9· · · ··Q.· ·All right.
 10· · · · · · · · ··MR. EISENSTAT:··But just so you're
 11· ·clear, it does say 2015, so let's not be misleading
 12· ·with the record.
 13· · · · · · · · ··MS. HUTCHISON:··It says that -- it
 14· ·says that "conduct related to the implementation of
 15· ·an ineffective fraud interdiction system in 2015."
 16· · · · · · · · ··MR. EISENSTAT:··In 2015.
 17· · · · · · · · ··MS. HUTCHISON:··Correct.··However, the
 18· ·DPA is continuing.··It's still in effect.··It's 2018
 19· ·when they had to pay the $125 million.
 20· · · · · · · · ··MR. EISENSTAT:··I'm not arguing with
 21· ·you, Counsel.··I'm just wanting to make sure that
 22· ·you're not trying to make an incorrect record here by
 23· ·being quick with dates that aren't what the document
 24· ·says.
 25· · · ··Q.· ·(By Ms. Hutchison)··All I'm saying is the

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                                                                     Appx. 25
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 26 of 36 PageID #:
                                   2810                               Page 176
                                  CRAIG BERNIER

 ·1· ·document is in effect five years after you got
 ·2· ·there.··For that whole five-year period of time, this
 ·3· ·Prosecution Agreement was in effect, right?
 ·4· · · ··A.· ·Correct.··The company has been in a DPA
 ·5· ·since I started working for the company.
 ·6· · · ··Q.· ·The entire period of time you've been
 ·7· ·employed, the company has been in a DPA, right?
 ·8· · · ··A.· ·That is correct.
 ·9· · · ··Q.· ·And part of the reason that prosecution
 10· ·against the company is deferred is to try to get
 11· ·MoneyGram to fix the problems that are listed in the
 12· ·DPA, right?
 13· · · ··A.· ·Could you say that one more time?
 14· · · ··Q.· ·Yes.··The agreement is, We, the government,
 15· ·will defer prosecuting criminally you, MoneyGram, and
 16· ·your officers and managers if you'll fix the
 17· ·problems, right?
 18· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 19· · · ··A.· ·I'm trying to see where it says that in the
 20· ·document, "we, the government."
 21· · · ··Q.· ·(By Ms. Hutchison)··I'm paraphrasing it,
 22· ·sir.··But is that your understanding of it or not?
 23· · · ··A.· ·Again, if you ask me a question, I will
 24· ·answer it exactly to what's in the document, but I
 25· ·don't think that I can presume based on a paraphrase

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                                                                     Appx. 26
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 27 of 36 PageID #:
                                   2811                               Page 177
                                  CRAIG BERNIER

 ·1· ·what the document is supposed to imply.··I can only
 ·2· ·go by exactly what it says.
 ·3· · · ··Q.· ·Well, I'm asking you for what you
 ·4· ·understand it says.··You have to have some kind of
 ·5· ·understanding of what the consequences are of this
 ·6· ·document, don't you?
 ·7· · · ··A.· ·Are you asking me if I have a personal
 ·8· ·opinion about the document, or are you asking me how
 ·9· ·deep I understand it from a legal perspective?
 10· ·Because I've --
 11· · · ··Q.· ·I'm not --
 12· · · ··A.· ·-- already mentioned that I cannot
 13· ·interpret the document from a legal perspective.··I
 14· ·can only interpret the document --
 15· · · ··Q.· ·How many times, Mr. Bernier, do I have to
 16· ·tell you I'm not asking you for a legal opinion?
 17· · · ··A.· ·I understand, but you asked me how I
 18· ·understand it, so --
 19· · · ··Q.· ·No.
 20· · · ··A.· ·-- there's level of understanding for a
 21· ·document like this.
 22· · · ··Q.· ·I'm asking you as the head of the entire
 23· ·anti-money laundering, counter financing of terrorism
 24· ·supervising 250 people, don't you have to have an
 25· ·understanding of the consequences of this agreement

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                                                                     Appx. 27
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 28 of 36 PageID #:
                                   2812                               Page 178
                                  CRAIG BERNIER

 ·1· ·that is still in effect?
 ·2· · · ··A.· ·I -- yes.··I understand that there are --
 ·3· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 ·4· · · ··A.· ·-- consequences for not adhering to the
 ·5· ·Deferred Prosecution Agreement.
 ·6· · · ··Q.· ·(By Ms. Hutchison)··And what are the
 ·7· ·consequences for not adhering to this agreement that
 ·8· ·remains in effect?
 ·9· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 10· · · ··A.· ·Are the consequences specifically laid out
 11· ·in the document?··Because if they're not, I don't
 12· ·know precisely what consequences may incur based on
 13· ·which part of the document are not adhered to.··So
 14· ·it's difficult for me to answer that.··I do know that
 15· ·there are consequences for not adhering to
 16· ·compliance.··I do know that we need to resolve the
 17· ·issues that were listed within the DPA, but I don't
 18· ·know specifically exactly what's going to happen to
 19· ·the company if we do A, B, and C right and then D
 20· ·wrong, for example.
 21· · · ··Q.· ·(By Ms. Hutchison)··Okay.··So that's not
 22· ·something that has been addressed with you as to what
 23· ·the consequences would be for any particular action
 24· ·with respect to the DTPA -- I mean, the DPA?
 25· · · · · · · · ··MR. EISENSTAT:··Objection, form.

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                                                                     Appx. 28
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 29 of 36 PageID #:
                                   2813                               Page 182
                                  CRAIG BERNIER

 ·1· · · ··Q.· ·(By Ms. Hutchison)··Sure.··I'm asking you
 ·2· ·if anyone with MoneyGram has ever addressed with you
 ·3· ·who could potentially suffer the consequences if the
 ·4· ·DPA was violated?
 ·5· · · ··A.· ·So we do have annual training within the
 ·6· ·company that does articulate the consequences of
 ·7· ·noncompliance.··As I recall, jail is mentioned for
 ·8· ·noncompliance as one of the measures that -- one of
 ·9· ·the consequences that could happen, along with
 10· ·fines.··I don't recall if it specifically says a
 11· ·position or a person that would be subject to that.
 12· ·In my mind, compliance is everyone's responsibility,
 13· ·so I think everyone should take that training with
 14· ·all seriousness, that, you know, anybody can be
 15· ·responsible for wrongdoing within the company and
 16· ·should be and is.
 17· · · · · · · · ··Beyond that, I'm aware that the prior
 18· ·chief compliance officer for MoneyGram before I
 19· ·worked for MoneyGram was personally fined, so I know
 20· ·that has happened.··So in terms of exactly who, I
 21· ·can't say that I recall any specific person saying,
 22· ·This person will go to jail, but I do recall that it
 23· ·is part of our training that jail is consequence --
 24· ·could be a consequence for noncompliance.
 25· · · · · · · · ··MS. HUTCHISON:··Okay.··We can take a

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                                                                     Appx. 29
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 30 of 36 PageID #:
                                   2814                               Page 192
                                  CRAIG BERNIER

 ·1· · · ··A.· ·Yeah.
 ·2· · · ··Q.· ·-- right?
 ·3· · · ··A.· ·Okay.··Well, there you go.··Yeah, it's the
 ·4· ·e-mail.··I see it.
 ·5· · · ··Q.· ·Okay.··And this e-mail is where Mr. Lozada
 ·6· ·is talking to somebody on the monitor team, right?
 ·7· ·Do you know who Phil Underwood is?
 ·8· · · ··A.· ·Yes.··I know Phil Underwood from
 ·9· ·FreshFields.
 10· · · ··Q.· ·Okay.··And that's the monitor team, right?
 11· · · ··A.· ·That is the prior monitor team, yes, in
 12· ·2017.
 13· · · ··Q.· ·Okay.··Has MoneyGram terminated its monitor
 14· ·relationship with FreshFields?
 15· · · ··A.· ·I don't know the appropriate terminology.
 16· ·I am -- we do have a different monitor currently
 17· ·that, I believe, was selected by the Department of
 18· ·Justice.
 19· · · ··Q.· ·Okay.··Do you know why the Department of
 20· ·Justice selected a different monitor?
 21· · · ··A.· ·I do not have any personal knowledge why
 22· ·the Department of Justice changed monitors.
 23· · · ··Q.· ·Okay.··In any event, so Mr. Lozada is
 24· ·saying, "Phil, another message for your Supervalu
 25· ·folder.··It illustrates the process that compliance

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                                                                     Appx. 30
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 31 of 36 PageID #:
                                   2815                               Page 216
                                  CRAIG BERNIER

 ·1· ·asked you to show it to him so that he can look at
 ·2· ·it.··If you don't want to do that, then don't do it.
 ·3· · · · · · · · ··MS. HUTCHISON:··Fine.··I just told you
 ·4· ·my exhibits rearranged themselves.··I'm looking for
 ·5· ·it.··But it's hard for me to believe that the head of
 ·6· ·the anti-money laundering department doesn't know
 ·7· ·whether the DPA requires him to discipline an agent.
 ·8· · · · · · · · ··MR. EISENSTAT:··What you believe is
 ·9· ·not relevant.··Okay?··Whether you believe it or not
 10· ·believe, doesn't matter.··He's asked to see it.··And
 11· ·you're either able to show it to him right now or
 12· ·not.··If you have a computer glitch, that's fine.··I
 13· ·understand.
 14· · · · · · · · ··MS. HUTCHISON:··Just, Gary, let me ask
 15· ·my questions, please.
 16· · · ··Q.· ·(By Ms. Hutchison)··Mr. Bernier, you
 17· ·don't -- I'm asking you as the head of the
 18· ·department.··Do you know one way or the other whether
 19· ·there is an obligation on the part of MoneyGram to
 20· ·discipline agents who won't remediate under those --
 21· ·under the requirements of the federal government?
 22· · · · · · · · ··MR. EISENSTAT:··Objection, form.
 23· · · ··A.· ·I'm not aware of what the specific verbiage
 24· ·that the DPA says in terms of the requirement, but
 25· ·our process is that we do execute, does have a

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                                                                     Appx. 31
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 32 of 36 PageID #:
                                   2816                               Page 217
                                  CRAIG BERNIER

 ·1· ·mechanism for us to review, investigate, and take the
 ·2· ·appropriate disciplinary actions when required with
 ·3· ·agents.··So it's not as if I'm not saying that we
 ·4· ·don't take disciplinary actions.··I am agreeing that
 ·5· ·disciplinary actions occur and that we have a process
 ·6· ·to remediate disciplinary actions or take actions
 ·7· ·with agents when they're in noncompliance or if their
 ·8· ·compliance is not satisfactory.··What I'm not able to
 ·9· ·answer to you is specifically exactly what the DPA is
 10· ·saying in how you're phrasing your question.
 11· · · · · · · · ··MS. HUTCHISON:··I object as
 12· ·nonresponsive.
 13· · · ··Q.· ·(By Ms. Hutchison)··I'm just asking you
 14· ·broadly, as broadly as I can possibly think of
 15· ·without using any specific verbiage or specific
 16· ·language or specific terminology.··Just if the DPA
 17· ·puts an obligation on MoneyGram and its managers to
 18· ·discipline noncompliant agents.
 19· · · · · · · · ··MR. EISENSTAT:··Susan, we've been
 20· ·through this.
 21· · · ··Q.· ·(By Ms. Hutchison)··If you don't know, you
 22· ·don't know.
 23· · · · · · · · ··MR. EISENSTAT:··We've been through
 24· ·this multiple times, and he's answered it every
 25· ·single time.··You just don't like his answer.··You're

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                                                                     Appx. 32
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 33 of 36 PageID #:
                                   2817                               Page 226
                                  CRAIG BERNIER

 ·1· ·you're probably wanting to show me.
 ·2· · · ··Q.· ·So you don't get -- when you get training
 ·3· ·with respect to the effects of the DPA and the
 ·4· ·injunction, they don't train you what MoneyGram's
 ·5· ·continuing obligations are?
 ·6· · · ··A.· ·I don't recall every element specifically
 ·7· ·of the training in terms of the terminology and how
 ·8· ·they refer to every piece of that.
 ·9· · · ··Q.· ·My question was, do you get training on
 10· ·what MoneyGram's obligations are under the DPA and
 11· ·the injunction?
 12· · · ··A.· ·The company does have annual training, yes.
 13· · · ··Q.· ·Okay.··And does that training include what
 14· ·MoneyGram's obligations are continuing under both of
 15· ·those agreements?
 16· · · ··A.· ·As I recall, there is some training on the
 17· ·continued obligations under the FTC order, yes.
 18· · · ··Q.· ·Does any of that training address a failure
 19· ·to suspend an agent under certain noncompliant
 20· ·conditions?
 21· · · ··A.· ·I don't recall specifically if the training
 22· ·says that or not, but I do recall that, as it says
 23· ·there, it talks about suspending agents at
 24· ·MoneyGram's locations on Page 19.
 25· · · ··Q.· ·Okay.

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                                                                     Appx. 33
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 34 of 36 PageID #:
                                   2818                               Page 251
                                  CRAIG BERNIER

 ·1· · · · · · · ··UNITED STATES DISTRICT COURT
  · ·· · · · · ·FOR THE EASTERN DISTRICT OF TEXAS
 ·2· · · · · · · · · · ··SHERMAN DIVISION
  · ··
 ·3· ·JUAN LOZADA-LEONI,· · · ··)
  · · · · · · · · · · · · · · ·)
 ·4· · · ··Plaintiff,· · · · · ·)
  · ·· · · · · · · · · · · · · ·)
 ·5· ·VS.· · · · · · · · · · · ·) Case No.
  · ·· · · · · · · · · · · · · ·) 4:20-cv-00068-RWS-CMC
 ·6· · · · · · · · · · · · · · ·)
  · ··MONEYGRAM INTERNATIONAL,··)
 ·7· ·INC. and MONEYGRAM PAYMENT)
  · ··SYSTEMS, INC.,· · · · · ··)
 ·8· · · · · · · · · · · · · · ·)
  · ·· · ··Defendants.· · · · ··)
 ·9· ·
  · ·· · · · · · · ··REPORTER'S CERTIFICATION
 10· ·
  · · · · · · · · · · ·ORAL DEPOSITION OF
 11· ·
  · ·· · · · · · · · · · ·CRAIG BERNIER
 12· ·
  · ·· · · · · · · · · · ·JUNE 26, 2020
 13· ·
  · ·· · · · · · · · · · · ··VOLUME 1
 14· · · · · · · ··(REPORTED REMOTELY VIA ZOOM)
  · ··
 15· · · ··I, Laurie Purdy, CSR, in and for the State of
  · ··
 16· ·Texas, hereby certify to the following:
  · ··
 17· · · ··That the witness, CRAIG BERNIER, was duly sworn
  · ··
 18· ·by the officer and that the transcript of the oral
  · ··
 19· ·deposition is a true record of the testimony given by
  · ··
 20· ·the witness;
  · ··
 21· · · ··That the deposition transcript was submitted on
  · ··
 22· ·August 5, 2020, to Mr. Gary Eisenstat, Attorney for
  · ·
 23· ·the Witness, for the review and signature by the
  · ··
 24· ·witness, to be returned to the reporter within 30
  · ··
 25· ·days;

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                                                                     Appx. 34
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 35 of 36 PageID #:
                                   2819                               Page 252
                                  CRAIG BERNIER

 ·1· · · ··That the amount of time used by each party at
  · ··
 ·2· ·the deposition is as follows:
  · ··
 ·3· · · · · · ·Ms. Hutchison:··5:43
  · ·
 ·4· · · · · · ·Mr. Eisenstat:··00:00
  · ··
 ·5· · · ··That pursuant to information given to the
  · ··
 ·6· ·deposition officer at the time said testimony was
  · ··
 ·7· ·taken, the following includes counsel for all parties
  · ··
 ·8· ·of record:
  · ··
 ·9· ·
  · ··FOR THE PLAINTIFF APPEARING REMOTELY:
 10· · · ··MS. SUSAN E. HUTCHISON
  · · · ··Hutchison & Stoy, PLLC
 11· · · ··505 Pecan Street, Suite 101
  · ·· · ··Fort Worth, Texas 76102
 12· · · ··T 817-820-0100
  · ·· · ··F 817-820-0111
 13· · · ··hutch@hsjustice.com
  · ··
 14· ·
  · ··FOR THE DEFENDANT APPEARING REMOTELY:
 15· · · ··MR. GARY EISENSTAT
  · ·· · ··Ogletree, Deakins
 16· · · ··8117 Preston Road, Suite 500
  · ·· · ··Dallas, Texas 75225
 17· · · ··T 214-987-3800
  · ·· · ··gary.eisenstat@ogletree.com
 18· ·
  · ··
 19· ·FOR THE DEFENDANT APPEARING REMOTELY:
  · ·· · ··MR. J. RANDALL ROESER
 20· · · ··Haltom &··Doan
  · ·· · ··6500 Summerhill Road, Suite 100
 21· · · ··Texarkana, Texas 75503
  · ·· · ··T 903-255-1000
 22· · · ··rroeser@haltomdoan.com
  · ·
 23· ·
  · ··
 24· · · ··That $1,441.50 is the deposition officer's
  · ··
 25· ·charges to the Plaintiff for preparing the original

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                                                                     Appx. 35
Case 4:20-cv-00068-RWS-CMC Document 118-2 Filed 10/01/20 Page 36 of 36 PageID #:
                                   2820                               Page 253
                                  CRAIG BERNIER

 ·1· ·deposition transcript and any copies of exhibits;
  · ··
 ·2· · · ··I further certify that I am neither counsel for,
  · ··
 ·3· ·related to, nor employed by any of the parties or
  · ·
 ·4· ·attorneys in the action in which proceeding was
  · ··
 ·5· ·taken, and further that I am not financially or
  · ··
 ·6· ·otherwise interested in the outcome of the action.
  · ··
 ·7· ·
  · ··
 ·8· · · ··Certified to by me this 2nd day of August,
  · ··
 ·9· ·2020.
  · ··
 10· ·
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 11· ·
  · ··
 12· ·
  · ··
 13· · · · · · · · · ··_____________________________
  · ·· · · · · · · · ··LAURIE PURDY, CSR 5933
 14· · · · · · · · · ··Certification Expires: 1-31-2021
  · ·· · · · · · · · ··Laurie Purdy Reporting Service, Inc.
 15· · · · · · · · · ··2212 Wood Cliff Court
  · ·· · · · · · · · ··Arlington, Texas 76012
 16· · · · · · · · · ··T 817-988-4348
  · ·· · · · · · · · ··Firm ID Number:··582
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                                                                     Appx. 36
